10/16/24, 6:04 PM    Case 3:24-mc-80266-JCSCM/ECF
                                               Document       2-7 Court
                                                  LIVE - U.S. District Filed    10/24/24
                                                                          for the                  Page 1 of 1
                                                                                  District of New Jersey


    09/11/2024            73 TEXT ORDER: By Order filed on September 3, 2024 [D.E. 70], the Court directed
                             Defendant Danis to file, by September 10th, an updated status report concerning the
                             mobile telephone. That Order also required that if Mr. Danis fails to locate the phone, he
                             must submit a declaration that describes in detail: (1) all efforts undertaken to search for
                             the phone and, if more than one person looked for the phone, the specific efforts by each
                             such person to locate it, (2) the last time Mr. Danis remembers having the phone, (3) the
                             location where Mr. Danis typically kept or stored the phone, (4) Mr. Danis's best
                             recollection of what he did with the phone the last time he remembers having possession
                             of it, and (5) Mr. Danis's best understanding of what happened to the phone. To date, Mr.
                             Danis has failed to file the status report/declaration. Mr. Danis must do so by the close of
                             business today. Failure to comply may result in the issuance of an Order to Show Cause
                             as to why the Court should not impose sanctions against him pursuant to Federal Rules
                             of Civil Procedure 16(f) and 37. So Ordered by Magistrate Judge Michael A. Hammer
                             on 9/11/2024. (Hammer, Michael) (Entered: 09/11/2024)




https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?216542590778699-L_1_0-1                                                      1/1
